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_________________________________________________________________________________

By ECF                                                        March 21, 2022

Honorable Gregory H. Woods
United States District Judge
United States District Court
500 Pearl Street
New York, N.Y. 10007

       Re: United States v. Kromah, 19 Cr. 338 (GHW)
             Client: Amara Cherif

Dear Judge Woods:

        On January 26, 2022, I made an application to the Court seeking the appointment of CJA
attorney Thomas Dunn as co-counsel to assist me in this matter. Your Honor denied the
application without prejudice. Your order set forth “… that the Court may appoint more than
one CJA counsel in ‘an extremely difficult case’ where ‘the Court finds that it is in the interest of
justice and so states…. CJA Plan section VII. C. IV.’”

        The volume of the discovery, which includes more than 41,000 pages, excluding videos
that are not Bates stamped and 3500 materials, makes this case extremely difficult. Moreover,
this matter is scheduled for trial on July 11, 2022.

      The discovery is labeled with Bates numbers. The discovery includes charging and arrest
documents (USAO 1-35). The specific discovery is as follows:

               1. Search Warrants (USAO 36 - 98)

               2. Pen Registers (USAO 99 - 196)

               3. Pen Register Returns (USAO 197 - 419)

               4. Subpoena Returns (USAO 420 - 31,921)

               5. Search Warrant Returns (USAO 31,922 - 31,942)

               6. What App Communications (31,943–40, 361)
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               7. Agent Reports and Recordings (USAO 40,362 – 40,416)

               8. Search Warrants (USAO 40,417 – 40,492)

               9. Additional Search Warrant Materials (USAO 40,493 – 40,745)

               10. Additional Agent Reports (USAO 40,476 – 41,013)

               11. Lab Reports (USAO – 41,016 – 41,386)

               12. Vouchers and Forms (USAO – 41,387- 41, 387)

               13. Communications (USAO – 41,388 – 41,443)

               14. Preliminary Transcripts (USAO – 41,444 – 41,494)

               15. Additional Media (USAO – 41,495 – 41,507)

               16. Additional Agent Reports (USAO – 41,508 – 41,605)


               The volume of the discovery, if reviewed by two attorneys as well as reviewing
       the discovery with Mr. Cherif would be cost effective and efficient.

               Agents arrested Mr. Cherif on April 2, 2020. At his arraignment the following day
       the Magistrate assigned an attorney to represent him. Defendant Moazu Kromah retained
       an attorney on June 24. 2019. On January 25, 2021 The Magistrate assigned an attorney
       to defendant Mansur Mohammed Surur.

              Your Honor assigned me to represent Mr. Cherif on August 13, 2021. I now have
       represented Mr. Cherif for seven months. During that period I had a trial and hearing in
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Honorable Gregory S. Williams
March 21, 2022
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Southern District and recently a trial in State court. Both trials, the review of Rule 16 discovery
and 3500 material consumed significant hours.

       The attorneys for the other defendants have been on this case much earlier than I. Each
defendant is represented by two attorneys.

       In conclusion, the discovery contains document in excess 41,000 pages. Attorneys for
the other defendants have had the benefit of representing their clients for 23 months and 13
months, respectively, and each is represented by multiple counsel. The amount of discovery, the
need for review by counsel, the need for review with my client of the discovery, and the time
frame of my representation makes this an extremely difficult case as set forth in section V11.C.
We respectfully request that the Court assign CJA attorney Thomas Dunn at the rate for CJA
attorneys of $155.00

       Thank you for your consideration of this request.

                                                             Very truly yours,


                                                             s/ Jacqueline E. Cistaro, Esq.



cc: All Counsel
   (via ECF)
